    Case: 1:22-cv-02046 Document #: 31 Filed: 07/15/22 Page 1 of 2 PageID #:291




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Zhejiang Sairen Trading Co., Ltd,
                      Plaintiff,                 Case No. 22 cv 2046

       v.                                        District Judge Thomas M. Durkin

Individuals, Partnerships, and                   Magistrate Judge Sheila M. Finnegan
Unincorporated Associations on Schedule
“A”,

                      Defendants.



                      NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Zhejiang Sairen

Trading Co., Ltd (“Plaintiff”) hereby dismisses this action with prejudice as to the following

Defendants:

               Defendant Name                                       Line No.

            Haoridul（EessonDirect）                                     69

        MIYA Team（Ertu Group）                                          78

                Barcetine Group                                         8

                                                                      105
       FFILYFlagpoleDirect（WONEZN）
               OSOPOLA                                                 39

                  Zonegrace                                            98

                    LINJA                                              77



DATED JULY 15, 2022                                  Respectfully submitted,

                                                     /s/ James A. Karamanis
Case: 1:22-cv-02046 Document #: 31 Filed: 07/15/22 Page 2 of 2 PageID #:292




                                        James A. Karamanis
                                        Barney & Karamanis, LLP
                                        Two Prudential Plaza
                                        180 N. Stetson, Ste 3050
                                        Chicago, IL 60601
                                        Tel.: 312/553-5300
                                        Attorney No. 6203479
                                        James@bkchicagolaw.com

                                        ATTORNEY FOR PLAINTIFFS
